Case 2:00-cr-00323-KSH             Document 508           Filed 02/28/17         Page 1 of 2 PageID: 231



 PROB 12A
 (7/93)

                                 United States District Court
                                                   for

                                   District of New Jersey
                           Report on Offender Under Supervision

Name ofOffender: Eric Mack                                                               Cr.: 00-00323-003
                                                                                          PACTS#:26601

Name ofSentencing Judicial Officer: THE HONORABLE KATHARINE S. HAYDEN
                                        SENIOR UNITED STATES DISTRICT JUDGE

Date of Original Sentence: 04/23/2002

Original Offense: Conspiracy to Distribute Narcotics

Original Sentence: 180 months imprisonment,60 months supervised release

Special Conditions: Drug Treatment, Alcohol Treatment, Other Condition, Fine, Special Assessment,
Alcohol Restrictions, Financial Disclosure, No New Debt/(I)redit

Type of Supervision: Supervised Release                        Date Supervision Commenced:07/18/2013

                                 NONCOMPLIANCE SUMMARY

The offender has not complied with the following condition(s)ofsupervision:

Violation Number     Nature ofNoncompliance

  1.                 On Februaiy 27, 2017, the offender tested positive for marijuana. The
                     offender verbally admitted to using the substance on Februaiy 23,2017.


U.S. Probation Officer Action:
At this time, we are requesting that this petition serve as an official written reprimand. We will continue
to monitor the offender's compliance, and make the necessaiy referrals to assist the offender.

                                                                   Res^^ully submitted.
                                                                   By:Edward J Irwin
                                                                       U.S. Probation Orricer'
                                                                   Date: 02/28/2017
Case 2:00-cr-00323-KSH           Document 508          Filed 02/28/17        Page 2 of 2 PageID: 232




                                                                                         Prob 12A-page2
                                                                                               Eric Mack


   The Courts endorsement ofthis petition willserve as an official written reprimand to the offender
                  unless the Court directs that alternative action be taken asfollows:
   No Formal Court Action to be Taken at This Time/Written Reprimand
r" Submit a Request for Modifying the Conditions or Term of Supervision
r Submit a Request for Warrant or Summons
r Other



                                                               Signature ofJudicial O

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